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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
AUSTIN DIVISION

IN RE: REQUEST FOR JUDICIAL
ASSISTANCE FROM THE 30TH

ANADOLU, TURKIYE IN THE cownell 824 MGOE D7 4
MATTER OF RAMAZAN SILAH V. ~

TURKEY HALKBANK JOINT-STOCK
COMPANY

DECLARATION OF TRIAL ATTORNEY KRYSTA M. STANFORD

I, Krysta M. Stanford, pursuant to 28 U.S.C. § 1746, declare as follows:

1. Iama Trial Attorney at the U.S. Department of Justice, Civil Division, Office of
Foreign Litigation, Office of International Judicial Assistance. I make this declaration upon
information and belief based upon the attached exhibits and communications received from the
30th Labor Court of Istanbul, Anadolu, Tiirkiye (“Turkish Court”). I make this declaration in
support of the Government’s request, pursuant to 28 U.S.C. § 1782(a), for an Order appointing
me Commissioner for the purpose of obtaining documents from X Corporation (“X”).

2. In connection with a pending judicial proceeding captioned Ramazan Silah v. Turkey
Halkbank Joint-Stock Company, Foreign Reference Number 2023/396, the Turkish Court issued
a Letter of Request seeking information from X. A true and correct redacted copy of the Letter of
Request received from the Turkish Court is attached as Exhibit 1.

3. The specific information requested by the Turkish Court is reflected in a subpoena
addressed to X, which the United States intends to serve (in substantially similar format) upon

my appointment as Commissioner. A copy of the proposed subpoena is attached as Exhibit 2.
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4. Counsel for X indicated to the U.S. Government that X does not oppose the
appointment of a Department of Justice Attorney as commissioner, but it reserves all rights in
how it will respond to the subpoena.

5. Inorder to assist the Turkish Court in obtaining the requested information, I
respectfully request that this Court enter the proposed Order attached to the Application
appointing me Commissioner.

6. No previous application for the relief sought herein has been made.

I declare under penalty of perjury that the foregoing is true and correct.

Washington, D.C. -
December 19, 2024 Aiyohecl Manso

KrystaM. Stanford
Trial Attorney
